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                                                                             196-04 HOLLIS AVENUE
                                                                     SAINT ALBANS, NEW YORK 11412
                                                                                    P: (917) 337-2439
                                                                                  FAX: (914) 462-4137




January 4, 2021

VIA ECF
Honorable James L. Cott
United States Courthouse
500 Pearl Street
New York, New York 10007
                                             RE:     Kaye v. NYC Health & Hospitals Corp. et. al.
                                                     Index No.: 18-cv-12137(JPC)(JLC)

Dear Honorable Judge Cott:

       I write respectfully to inform the Court that I cannot proceed with depositions as
scheduled this week. I attempted to raise issues consistent with the Federal Rules and the
Sedona Conference on the discovery issues in this matter to no avail. However, I simply cannot
proceed, I have experienced a host of health issues over the past two weeks, and today I have
been holding off on treatment until the Court ruled on the current disputes.

       As it stands, I cannot speak more than a few words without gasping for air. I have been
winded and have experienced a number of other flu like symptoms. I have refrained from taking
medications and using respiratory aids today in order to respond to Defense Counsel’s letters
and the Court’s order. Upon completion of this letter I will be medicated; as it stands I am self-
quarantining in my home.

        In closing, I apologize for any inconvenience this may have caused Counsel and the Court.
I will be notifying the parties in my other cases within the next 12 hours after I have had the
opportunity to commence with medication and respiratory aids. Again, I will not be able to
depose anyone this week or to participate in Dr. Kaye’s deposition. Since I am a solo practitioner,
there is also no one to defend her deposition in my absence.

Respectfully submitted,

/s/

Special Hagan, Esq.
Attorney for Plaintiff
Melissa Kaye

c:     Donna Canfield, Esq.
       Counsel for Defendants
